      Fill in this information to identify the case:

      Debtor 1      James Michael Little

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Middle District of Pennsylvania

      Case number 1:23-bk-02273-HWV




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Freedom Mortgage Corporation                               Court claim no. (if known): 4

  Last four digits of any number you use to
  identify the debtor’s account: 4656

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
            No
           Yes. Date of the last notice:          /    _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                      Dates incurred                            Amount

    1. Late charges                                                                                                  (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                               (2)   $ 0.00
    3. Attorney’s fees                                                     07/11/2024Amended plan Review $150        (3)   $ 150.00
    4. Filing fees and court costs                                                                                   (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                                                                (5)   $ 0.00
    6. Appraisal/Broker’s price opinion fees                                                                         (6)   $ 0.00
    7. Property inspection fees                                                                                      (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                     (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                               (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                      (10)   $ 0.00
  11. Other. Specify:                                                                                               (11)   $ 0.00
  12. Other. Specify:                                                                                               (12)   $ 0.00
  13. Other. Specify:                                                                                               (13)   $ 0.00
  14. Other. Specify:                                                                                               (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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    Debtor1    James Michael Little                                       Case number (if known) 1:23-bk-02273-HWV
               First Name           Middle Name        Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Mario Hanyon
         Signature
                                                                                  Date 10/15/2024



    Print: Mario Hanyon (203993)
           First Name           Middle Name            Last Name                  Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c om




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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                     Harrisburg Division


 IN RE:
 JAMES MICHAEL LITTLE                                 Case No. 1:23-bk-02273-HWV
                                                      Chapter 13
 Freedom Mortgage Corporation,
        Movant

 vs.

 JAMES MICHAEL LITTLE ,
      Debtor




                                    CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of
Postpetition Mortgage Fees, Expenses, and Charges has been electronically served or mailed, postage
prepaid on this day to the following:

Via Electronic Notice:

Michael A. Cibik, Debtor's Attorney
Cibik Law, P.C.
1500 Walnut St, Suite 900
Philadelphia, PA 19102
mail@cibiklaw.com


Jack N Zaharopoulos, Bankruptcy Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee, US Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102


Via First Class Mail:

JAMES MICHAEL LITTLE
120 S LANDVALE ST
YORK HAVEN, PA 17370-9011




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Date: October 15, 2024
                                   /s/Mario Hanyon
                                   Andrew Spivack, PA Bar No. 84439
                                   Matthew Fissel, PA Bar No. 314567
                                   Mario Hanyon, PA Bar No. 203993
                                   Ryan Starks, PA Bar No. 330002
                                   Jay Jones, PA Bar No. 86657
                                   Attorney for Creditor
                                   BROCK & SCOTT, PLLC
                                   3825 Forrestgate Drive
                                   Winston Salem, NC 27103
                                   Telephone: (844) 856-6646
                                   Facsimile: (704) 369-0760
                                   E-Mail: PABKR@brockandscott.com




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